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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                            ALEXANDRIA DIVISION

   ABRAM CLAYTON AND AMY                   CIVIL ACTION NO. 1:20-CV-00244
   CLAYTON,
   Plaintiffs

   VERSUS                                  JUDGE DRELL

   STEEL WAREHOUSE OF                      MAGISTRATE JUDGE PEREZ-MONTES
   TENNESSEE, L.L.C, ET AL.,
   Defendants


                         REPORT AND RECOMMENDATION

         Before the Court is a Motion to Remand (ECF No. 10) filed by Plaintiffs Abram

  Clayton (“Abram”) and Amy Clayton (“Amy”) (collectively, the “Claytons”).         The

  Claytons assert Defendant Steel Warehouse of Tennessee, L.L.C. (“Steel Warehouse”)

  failed to affirmatively allege in its Notice of Removal (ECF No. 1) the citizenship of

  its members or the members of Intervenor, Advantage Resourcing America, L.L.C.

  (“Advantage”). ECF No. 10 at 1. Steel Warehouse opposes, attaching affidavits

  regarding the citizenship of it and Advantage. ECF No. 12.

        Steel Warehouse fails to establish the Court’s diversity jurisdiction by a

  preponderance of the evidence. The Motion to Remand (ECF No. 10) should therefore

  be GRANTED.

  I.    Background

        The Claytons filed a Petition for Damages (ECF No. 1-2) in the Ninth Judicial

  District Court, Rapides Parish, Louisiana, against Defendants Steel Warehouse,

  John Doe (“Doe”), and ABC Insurance Company (“ABC Insurance”) (collectively,
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  “Defendants”). ECF No. 1-2.         The Claytons allege damages from an incident on

  November 15, 2018 (the “accident”), when Abram was assisting in unloading heater

  coil spools (the “spools”) from a truck.

        The Claytons contend Steel Warehouse loaded and secured the spools onto a

  truck bed bound for Hayes Manufacturing (“Hayes”), located in Pineville, Louisiana.

  (ECF No. 1-2 at 7.     Steel Warehouse and/or Doe packed and loaded the spools

  vertically, banded them together, and separated them with wooden dunnage in rows

  of two. Id. The Claytons assert this packing and loading configuration was improper

  and that Steel Warehouse and/or Doe chose not to use a steel rack system to hold the

  spools in place on the truck bed. Id.

        On November 15, 2018, at around 6:30 a.m., Hayes employees started

  unloading the truck bed.      Id.    Two Hayes employees – Abram and his cousin

  Johnathan Clayton (“Johnathan”) – were working to unload the spools. Id. Abram

  was on the truck bed and cut the last band off one of the spools. Id. The Claytons

  contend that after Abram cut the band, one of the spools started to fall off the truck,

  and Abram tried to jump off the truck and out of the way. Id. The Claytons assert

  Johnathan caught Abram as he jumped and tried to move him out of the way. Id.

  Johnathan was unable to move him completely out of the way and the spool landed

  on Abram’s left and right feet, crushing them. Id. at 8.

        The Claytons further contend that Abram’s wife Amy, who owned and operated

  her own hair salon, was forced to close her salon to provide extensive care to Abram.




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  Id. The Claytons allege Amy has slowly been able to start limited operations to

  provide some income. Id.

        The Claytons allege Abram’s injuries and damages were directly caused by the

  negligent acts and omissions of Steel Warehouse and Doe related to the loading,

  securing, and shipping of the spools. Id. at 10. The Claytons further allege Doe is

  negligent for failing to properly secure the spools; failing to properly load the spools;

  failing to warn Abram, Johnathan, and/or Steel Warehouse of the improper loading

  of the spools; and assuming the duty to secure the spools, but failing to do so with

  reasonable care. Id. at 9-10.

        The Claytons allege ABC Insurance provided a policy of liability insurance

  covering the negligence of Steel Warehouse and/or Doe. Id. at 10. The Claytons allege

  Abram suffered “personal and bodily injuries, including, but not limited to, both of

  his lower extremities being crushed, leading to left, below-knee amputation and

  permanent disability, among other injuries.”        Id.   Abram seeks compensatory

  damages for past, present, and future mental pain and suffering; past, present, and

  future physical pain and suffering; past, present, and future medical expenses; loss

  of enjoyment of life; loss of earning capacity; and permanent scarring and

  disfigurement. Id. at 11. Amy seeks compensatory damages for loss of income by the

  closure of her hair salon and for her loss of her husband’s company, affection, society,

  and companionship. Id.

        Advantage filed a Petition of Intervention (ECF No. 6-1) for reimbursement of

  indemnity benefits and/or medical benefits paid by Advantage in workers’



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  compensation benefits on behalf of Abram as a result of the accident. ECF No. 6-1 at

  21. Advantage asserts it continues to pay workers’ compensation benefits. Id.

        Steel Warehouse removed, asserting that there is complete diversity among

  the parties and that the amount in controversy exceeds $75,000. ECF No. 1. The

  Claytons seek to remand for Steel Warehouse’s failure to affirmatively plead the

  citizenship of each of its members and the citizenship of each of Advantage’s

  members. ECF No. 10 at 1. Steel Warehouse opposes, attaching affidavits regarding

  the citizenship of it and Advantage. ECF No. 12. Steel Warehouse submits the

  Affidavit of Gerald F. Lerman (“Lerman”) (ECF No. 12-1) and the Affidavit of Joseph

  G. Glass (“Glass”) (ECF No. 12-2).

  II.   Law and Analysis

        A.     Standards governing the Motion to Remand.

        A federal court's jurisdiction is limited to areas authorized by the United States

  Constitution and acts of Congress. See Scarlott v. Nissan N. Am., Inc., 771 F.3d 883,

  887 (5th Cir. 2014). Subject matter jurisdiction must exist at the time of removal,

  based on the facts and allegations contained in the complaint. See St. Paul

  Reinsurance Co. Ltd. v. Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998).

  Jurisdictional facts are determined at the time of removal, not by subsequent events.

  See La. v. Am. Nat’l Prop. & Cas. Co., 746 F.3d 633, 635 (5th Cir. 2014). Remand is

  required “[i]f at any time before final judgment it appears that the district court lacks

  subject matter jurisdiction.” 28 U.S.C. § 1447(c).




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        A federal court has “diversity jurisdiction” where the amount-in-controversy

  exceeds $75,000, exclusive of interest and costs, and where complete diversity exists

  between the parties. See 28 U.S.C. § 1332(a). The removing party bears the burden

  of establishing diversity jurisdiction by a preponderance of the evidence.          See

  Mumfrey v. CVS Pharmacy, Inc., 719 F.3d 392, 397 (5th Cir. 2013); see also Menendez

  v. Wal-Mart Stores, Inc., 364 Fed.Appx. 62, 65 (5th Cir. 2010) (citing New Orleans &

  Gulf Coast Ry. Co. v. Barrois, 533 F.3d 321, 327 (5th Cir. 2008)). “Any ambiguities

  are construed against removal and in favor of remand to state court.” Mumfrey, 719

  F.3d at 397 (citations omitted).

        “The basis for diversity jurisdiction must be ‘distinctly and affirmatively

  alleged.’” Menendez, 364 Fed.Appx. at 65 (citation omitted) (emphasis in original);

  see also Getty Oil, Div. Of Texaco v. Ins. Co. of North America, 841 F.2d 1254, 1259

  (5th Cir. 1988) (citation omitted) (emphasis in original).      The citizenship of an

  individual is his or her domicile, meaning the place where an individual resides and

  intends to remain. See Acridge v. Evangelical Lutheran Good Samaritan Soc., 334

  F.3d 444, 448 (5th Cir. 2003). A corporation shall be deemed to be a citizen of every

  State and foreign state by which it has been incorporated and of the State or foreign

  state where it has its principal place of business. See Tewari De-Ox Systems, Inc. v.

  Mountain States/Rosen, L.L.C., 757 F.3d 481, 483 (5th Cir. 2014). “[T]he citizenship

  of a partnership is determined by reference to the citizenship of each of its partners.”

  See Int'l Paper Co. v. Denkmann Associates, 116 F.3d 134, 135, 137 (5th Cir. 1997).

  The citizenship of a limited liability company (“L.L.C.”), a limited partnership, or



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  other unincorporated association or entity, is determined by the citizenship of all its

  members. See Harvey, 542 F.3d at 1079-80.

        B.     Steel Warehouse fails to establish diversity jurisdiction by a
               preponderance of the evidence. 1

        The Claytons argue Steel Warehouse failed to meet its burden of proving

  diversity because it failed to plead the citizenship of each of its members or of each of

  Advantage’s members. ECF No. 10 at 1. Steel Warehouse alleged the place of

  incorporation and the principal place of business for both entities. ECF Nos. 1 at 3,

  10 at 1. The Claytons contend that because Steel Warehouse and Advantage are

  limited liability corporations, Steel Warehouse fails to affirmatively allege complete

  diversity. ECF No. 10 at 1.

        Specifically, Steel Warehouse’s Notice of Removal (ECF No. 1) alleges it is an

  L.L.C., incorporated as a domestic corporation, with its principal place of business in

  the State of Tennessee. ECF No. 1 at 3. Steel Warehouse alleges Doe and ABC

  Insurance are fictitious entities whose citizenship should be disregarded. 2 Id. Steel

  Warehouse further asserts Advantage is incorporated as a Delaware corporation and




  1There is no dispute as to whether the amount-in-controversy exceeds $75,000. ECF Nos 1,
  10, 16. The parties have since then entered a Joint Stipulation (ECF No. 16) that Advantage
  has paid to or on behalf of Abram the sum of $349,286.46 in workers’ compensation benefits
  as of February 20, 2020 for which they seek reimbursement. ECF No. 16 at 1. Therefore,
  the only issue before the Court is whether there is complete diversity among the parties.

  2 The Claytons do not contest that Doe and ABC Insurance may be disregarded when
  determining diversity jurisdiction. ECF No. 10-1 at 2-3. Rather, the Claytons take issue
  with the lack of affirmative allegations regarding the citizenship of Steel Warehouse and
  Advantage. Id. at 4.


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  has its principal place of business in the State of Ohio. Id. Steel Warehouse asserts

  the Claytons are domiciled in the State of Louisiana. Id.

        Steel Warehouse opposes remand and submits affidavits establishing the

  citizenship of Steel Warehouse and Advantage. ECF Nos. 12, 12-1, 12-2. Steel

  Warehouse submits the affidavit of Lerman (ECF NO. 12-1), the Vice President of

  Steel Warehouse, who attests that Steel Warehouse was at the time of removal and

  remains an L.L.C., with two members – Lerman Holding Co., Inc. (“Lerman Holding”)

  and Lerman Enterprises, L.L.C. (“Lerman Enterprises”). ECF Nos. 12 at 2; 12-1 at

  1. Lerman attests that Lerman Holding is incorporated in the State of Indiana with

  its principal place of business in the State of Indiana. ECF Nos. 12 at 2; 12-1 at 1.

  Lerman further attests that Lerman Enterprises is an L.L.C. with 58 members now

  and at the time of removal. ECF Nos. 12 at 2-3; 12-1 at 1. Attached to Lerman’s

  affidavit is a list of the 58 members of Lerman Enterprises – all consisting of

  individuals and their state of citizenship, none being the State of Louisiana. ECF No.

  12 at 3; 12-1 at 1. 3 Thus, Steel Warehouse is completely diverse from the Claytons.

        Here, Advantage, the workers’ compensation intervenor, is aligned as a

  plaintiff and its citizenship must be diverse from that of all defendants. See Head v.

  Chesapeake Operating, Inc., Civil Action No. 10-444, 2010 WL 2246394, at * 1 (W.D.

  La. May 26, 2010). Steel Warehouse submits the affidavit (ECF No. 12-2) of Glass,



  3The list establishes the family members of Lerman Enterprises. ECF No. 12-1 at 4-5. Steel
  Warehouse establishes that the family members of Lerman Enterprises are citizens of New
  Jersey, New York, Ohio, Indiana, Florida, Maryland, Israel, District of Columbia, Michigan,
  and Illinois.


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  an attorney at Duplass, Zwain, Bourgeois, Pfister, Weinstock, & Bogart. ECF No. 12-

  2 at 1. Steel Warehouse asserts Plaintiff-in-Intervention 4 Advantage is incorporated

  in and has its principal place of business in the State of Delaware. ECF No. 12 at 3.

  Glass attests that and includes an email (ECF No. 12-2 at 3) from Advantage’s

  attorney Roger A. Javier (“Javier”), stating that at the time of filing the Complaint

  (ECF No. 1-1), the Intervention (ECF No. 6-1), and the Notice of Removal (ECF No.

  1), Advantage was and remains a State of Delaware corporation. ECF Nos. 12-2 at

  2-3. Glass further attests that Advantage’s principal place of business was and

  remains in the State of Delaware. Id.

           The Claytons did not reply to the Opposition (ECF No. 12) or to Steel

  Warehouse’s assertions as to Advantage. However, the Court has “an independent

  obligation to determine whether subject-matter jurisdiction exists, even in the

  absence of a challenge from any party.” Arbaugh v. Y&H Corp., 546 U.S. 500, 514

  (2006). This duty persists throughout all phases of the litigation, “even after trial

  and the entry of final judgment.” Id. at 506-07.

           The Delaware Secretary of State shows that Advantage is an L.L.C. 5 Thus,

  Steel Warehouse must affirmatively allege the citizenship of each of Advantage’s

  members. See Harvey, 542 F.3d at 1079-80. Steel Warehouse has not done so in its




  4In error, Steel Warehouse refers to Advantage as a Defendant. ECF No. 12 at 3. However,
  Steel Warehouse correctly then alleges Advantage is a Plaintiff-in-Intervention. Id. Though
  Steel Warehouse asserts there is complete diversity between the Claytons and “Defendant,
  Advantage, Inc.,” the Court looks to whether the Claytons and Advantage are completely
  diverse from Steel Warehouse.

  5   See https://icis.corp.delaware.gov/Ecorp/EntitySearch/NameSearch.aspx.
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  Notice of Removal (ECF No. 1) or in its Opposition (ECF No. 12). Thus, after review

  of the record and affidavits, Steel Warehouse fails to establish by a preponderance of

  the evidence that complete diversity exists between the parties.

  III.   Conclusion

         Because Steel Warehouse fails to establish diversity jurisdiction by a

  preponderance of the evidence;

         IT IS RECOMMENDED that the Claytons’s Motion to Remand (ECF No. 10)

  be GRANTED.

         Under the provisions of 28 U.S.C. § 636(b)(1)(c) and Fed. R. Civ. P. 72(b), any

  party may serve and file with the Clerk of Court written objections to this Report and

  Recommendation within fourteen (14) days after being served with a copy thereof,

  unless an extension of time is granted under Fed. R. Civ. P. 6(b). A party may respond

  to another party’s objections within fourteen (14) days after being served with a copy

  thereof. No other briefs (such as supplemental objections or reply briefs) may be filed,

  unless a party shows good cause and obtains leave of court. The District Judge will

  consider timely objections before issuing a final ruling.

         A party’s failure to file written objections to the proposed factual findings,

  conclusions, and recommendations contained in this Report and Recommendation

  within fourteen (14) days after being served with a copy thereof, or within any

  extension of time granted by the Court under Fed. R. Civ. P. 6(b), shall bar that party

  from attacking either the factual findings or the legal conclusions accepted by the

  District Judge, except upon grounds of plain error.



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        THUS DONE AND SIGNED in Alexandria, Louisiana, on this 10th day of

  June 2020.

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                                     JOSEPH H.L. PEREZ-MONTES
                                     UNITED STATES MAGISTRATE JUDGE




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